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                             UNITED STATE DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                                    MIAMI DIVISION

                            CASE NO.: 14-cv-21385-Lenard/Goodman

 WREAL, LLC, a Florida Limited
 Liability Company,

         Plaintiff,
 vs.

 AMAZON.COM, INC., a Delaware
 Corporation

       Defendant.
 _____________________________________/

                  PLAINTIFF’S CORPORATE DISCLOSURE STATEMENT
                     AND CERTIFICATE OF INTERESTED PERSONS

         Pursuant to this Court’s Order Referring Preliminary Status Conference, Discovery

 Disputes and Certain Pretrial Motions to Magistrate Judge; Directing Parties to File Certificates

 of Interested Parties; Directing Parties to File a Notice of Refiling and/or Related Cases;

 Requiring Completion of Form Consenting to Jurisdiction by Magistrate Judge; And Requiring

 Completion of Joint Scheduling Report and Form (the “Order”) and Rule 7.1, Fed. R. Civ. P.,

 Plaintiff hereby provides the following corporate disclosure statement and certificate of

 interested persons:

         A.      CORPORATE DISCLOSURE STATEMENT

                 1.    There is no parent corporation.

         B.      CERTIFICATE OF INTERESTED PERSONS

         Plaintiff hereby certifies that the following is a list of any and all persons, associated

 persons, firms, partnerships, and/or corporations that have a financial interest in the outcome of

 this case:
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                1.      Wreal, LLC;

                2.      Amazon.com, Inc.; and

                3.      Counsel for the parties.

 Dated: June 30, 2014
                                                Respectfully submitted,

                                                WNF LAW, P.L.
                                                Attorneys for WREAL, LLC
                                                1111 Brickell Avenue, Suite 2200
                                                Miami, Florida 33131
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                                                Fax: (305) 760-8510

                                                By: __/s/ Carlos Nunez-Vivas
                                                       Carlos Nunez-Vivas
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                                                       Florida Bar No. 337160
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                                                       Dennis J. Wouters
                                                       Florida Bar No. 28692
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                                                       John G. Marfoe
                                                       Florida Bar No. 101535
                                                       jgm@wnflaw.com

                                      CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on June 30, 2014, a true and correct copy of the foregoing was
 served by transmission of Notice of Electronic Filing generated by CM/ECF on all counsel or
 parties of record on the Service List below.
                                                       /s/ Carlos Nunez-Vivas




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                                    SERVICE LIST

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